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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA

             v.                           08-CR-128-PB

KURT SANBORN

                  GOVERNMENT’S MOTION HEARING EXHIBIT LIST

Exhibit No.                          Description

    1               3/19/09 E-Mail from A. Baum to K. Sanborn

     2              3/20/09 E-Mail from A. Baum to K. Sanborn

     3              3/20/09 E-Mail from K. Sanborn to A. Baum

     4              5/24/09 E-Mail from K. Sanborn to A. Baum

     5              5/24/09 E-Mail from A. Baum to K. Sanborn

     6              5/28/09 E-Mail from A. Baum to AUSA Kinsella

     7              5/29/09 E-Mail from A. Baum to AUSA Kinsella

     8              11/6/09 E-Mail from K. Sanborn to A. Baum

     9              11/6/09 E-Mail from A. Baum to K. Sanborn

     10             11/8/09 E-Mail from K. Sanborn to A. Baum

     11             7/30/09 E-Mail from AUSA Kinsella to A. Baum

     12             11/3/09 E-Mail from K. Sanborn to A. Baum

     13             11/3/09 E-Mail from A. Baum to K. Sanborn

     14             11/6/09 E-Mail from A. Baum to K. Sanborn

     15             11/9/09 E-Mail from K. Sanborn to A. Baum

     16             11/10/09 E-Mail from K. Yardley to K. Sanborn

     17             11/17/09 E-Mail from A. Baum to K. Sanborn

     18             11/20/09 E-Mail from S. Sanborn to A. Baum
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     19            11/20/09 E-Mail from D. Kennedy to A. Baum

Exhibit No.                          Description

     20            11/20/09 E-Mail from A. Baum to D. Kennedy

     21            11/20/09 E-Mail from A. Baum to K. Sanborn

     22            11/20/09 E-Mail from K. Sanborn to A. Baum

    23             Handwritten Note by Judith Sanborn

    23a            $5,000 Check from Judith Sanborn to Defense Group
                   Trust Account, $5,000 Check from Linda and Jeanne
                   Coburn to Defense Group Trust Account, and $10,000
                   Check from Vinok K. Tripathi, MD to Defense Group
                   Trust Account


December 16, 2009                    Respectfully submitted,

                                     JOHN P. KACAVAS
                                     United States Attorney

                                By: /s/ Robert M. Kinsella
                                    Robert M. Kinsella
                                    Assistant United States Attorney


                           CERTIFICATE OF SERVICE

        I hereby certify that on December 16, 2009, I caused a
copy of the foregoing to be filed electronically upon Alan Baum,
counsel for defendant.


                                     /s/ Robert M. Kinsella
                                     Robert M. Kinsella, AUSA
